
The Chancellor.
Where the motion is to dissolve the injunction for waut of equity in the bill, the rule requiring an answer clearly does not apply; it is only when the motion is to be sustained by affidavits, or other matter is relied on, independent of the bill.
Where the object of the bill will be answered, the sale should be suffered to proceed, and the money should be staid in the sheriff’s hands. That course, however, would not meet the object of the present bill,
The sheriff remains liable for the property in his hands, notwithstanding the injunction: he is bound to take charge of it. If any part of the property levied on has gone into the hands of the receivers, they should compensate the sheriff.
I am clearly of opinion, that where an injunction is granted ex parle, and notice is given of a motion to dissolve the injunction for want of equity in the bill, I must hear the motion, except for special cause, as for the illness of counsel. The motion should not be delayed, merely because the party or his counsel is not ready for the argument'; the court must hear the motion at any time.
The argument must proceed, unless counsel otherwise agree.
